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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


JUSTIN K. BLACK,

                              Plaintiff,

v.                                                   CIVIL ACTION NO. 3:22-0096

THE WEST VIRGINIA STATE POLICE,
ANTHONY CUMMINGS,
KIMBERLY PACK,
GREG LOSH,
MIKE PARDE,
EDDIE BLANDKNSHIP, and
UNKNOWN OFFICERS OF THE WEST
VIRGINIA STATE POLICE,

                              Defendants.



                             AMENDED SCHEDULING ORDER


       Pending is the Consent Motion to Adopt Amended Scheduling Order. ECF No. 61. The

Court GRANTS the Motion and ORDERS as follows:

       1.      Discovery: The parties shall complete all depositions by July 14, 2023. The last

date to complete depositions shall be the “discovery completion date” by which all discovery,

including disclosures required by Fed. R. Civ. P. 26(a)(1) and (2), but not disclosures required by

Fed. R. Civ. P. 26(a)(3), should be completed. Pursuant to L.R. 26.1(c), the Court adopts and

approves agreements of the parties with respect to limitations on discovery (numbers of

interrogatories, requests for admissions, and depositions).

       2.      Expert Witnesses: The party bearing the burden of proof on an issue shall make the
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disclosures of information required by Fed. R. Civ. P. 26(a)(2)(A) and (B) for that issue to all other

parties or their counsel no later than May 8, 2023. The party not bearing the burden of proof on an

issue shall make the disclosures required by Fed. R. Civ. P. 26(a)(2)(A) and (B) for that issue to

all other parties or their counsel no later than June 8, 2023. All parties shall provide the disclosures

required by Fed. R. Civ. P. 26(a)(2)(A) and (B) if the evidence is intended solely to contradict or

rebut evidence on the same issue identified by another party under Fed. R. Civ. P. 26(a)(2)(B), no

later than June 22, 2023.

        3.      Dispositive Motions: All dispositive motions, except those filed under Fed. R. Civ.

P. 12(b), together with depositions, admissions, documents, affidavits or other exhibits, and a

memorandum in support of such motions shall be filed by August 4, 2023. Any response shall be

filed within 14 days of the filing of the motion, with replies due within 7 days of the filing of the

response. If not filed electronically, a copy of any motion, supporting memorandum, response, and

reply, together with documents or materials in support, shall be delivered to the undersigned at the

time of filing. If filed electronically, a hard copy of any motion, supporting memorandum,

response, or reply, together with documents or materials in support, exceeding fifty (50) pages in

length shall be submitted to the undersigned at the time of filing.

        4.      Settlement Meeting and Fed. R. Civ. P. 26(a)(3) Disclosures: No later than August

28, 2023, counsel and any unrepresented parties shall meet to conduct settlement negotiations.

Lead trial counsel for the plaintiff shall take the initiative in scheduling the meeting; all other

counsel shall cooperate in the effort to achieve a successful negotiation and settlement. The parties

must be prepared at the pretrial conference to certify that they tried to settle the case. If the case is

not settled at the meeting and if there is no order or stipulation to the contrary, counsel and

unrepresented parties shall make all Fed. R. Civ. P. 26(a)(3) disclosures at the settlement meeting.



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           5.    Proposed Integrated Pretrial Order: Counsel for the plaintiff shall prepare their

portion of the pretrial order and submit it to counsel for the defendants no later than September 5,

2023. Counsel for the defendants shall prepare and file a proposed integrated pretrial order no later

than September 11, 2023. The proposed integrated pretrial order, signed by all counsel and

unrepresented parties, shall set forth the matters listed in L.R. 16.7(b), including any objections to

Fed. R. Civ. P. 26 (a)(3) disclosures.

           6.    Pretrial Conference: A final pretrial conference shall be held on September 18,

2023, at 11:00 a.m. in Huntington. Lead counsel and any unrepresented parties shall appear fully

prepared to discuss all aspects of the case. Individuals with full authority to settle the case shall be

present in person.

           7.    Proposed Charge to Jury: No later than September 26, 2023, counsel and any

unrepresented parties shall submit to the presiding judge proposed jury instructions in charge form

on substantive theories of recovery or defense, on damages, and on evidentiary matters peculiar to

the case, and special interrogatories, if any be appropriate. The proposed instructions shall be

exchanged among counsel and any unrepresented parties before their submission. The proposed

instructions shall not be filed with the Clerk and made part of the record unless ordered by a judicial

officer.

           8.    Final Settlement Conference: A final settlement conference, attended by lead trial

counsel and any unrepresented parties, shall be held on October 2, 2023, at 9:30 a.m. in

Huntington. Individuals with full authority to settle the case shall be present in person.

           9.    Trial: Trial of this action shall commence on October 3, 2023, at 8:30 a.m. in

Huntington.

           10.   Failure to Appear or Negotiate: At least one attorney for each party and all



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unrepresented parties participating in any conference before trial shall have authority to make

decisions as to settlement, stipulations, and admissions on all matters that participants reasonably

anticipate may be discussed. Counsel and unrepresented parties are subject to sanctions for failures

and lack of preparation.

       This matter remains consolidated for discovery purposes with Case No. 3:22-0203, Nathan

Barnett, et al. v. Cabell County Commission, et al.

       The Court DENIES as moot Plaintiff’s Motion to Modify Scheduling Order (ECF No. 55)

and Defendants’ Cross-Motion to Modify Scheduling Order (ECF No. 58).

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented parties.


                                              ENTER:         March 10, 2023




                                              ROBERT C. CHAMBERS
                                              UNITED STATES DISTRICT JUDGE




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